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 9                                UNITED STATES DISTRICT COURT

10            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

11   SENTINEL INSURANCE COMPANY, LTD.,                    Case No. 3:19-cv-06312-VC
     an Connecticut corporation,                          Hon. Vince Chhabria
12                                                        Courtroom 4
                                   Plaintiff,
13                                                        [PROPOSED] JUDGMENT GRANTING
                     vs.                                  PLAINTIFF’S MOTION FOR
14                                                        DEFAULT JUDGMENT AGAINST ALL
                                                          DEFENDANTS
15   BERKELEY EXECUTIVES, INC.; THOMAS
     SMITH; MARIAN LATASHA WILLIS, acting                 [Filed concurrently with Notice,
16   as the duly appointed personal representative of     Memorandum of Points and Authorities,
     the Estate of Raeshon Williams (deceased),
                                                          Declaration of Shannon Santos, and Request
17                                                        for Judicial Notice]
                                   Defendants.
18
                                                          Hearing Date: November 5, 2020
19                                                        Time:         10:00 a.m.
                                                          Courtroom:    4, 17th Floor
20

21           The Motion for Default Judgment against All Defendants (“Motion”) filed by Plaintiff
22   Sentinel Insurance Company, Ltd. (“Sentinel”) came on regularly for hearing on November 5, 2020.
23   After consideration of the papers filed in connection with the Motion and the court record, in
24   accordance with the Federal Rule of Civil Procedure 55(b)(2), the Court finds as follows:
25           1.     Sentinel has no duty to defend Defendants Berkeley Executives, Inc. (“Berkeley
26                  Executives”) or Thomas Smith (“Mr. Smith”) (collectively the “Berkeley
27                  Defendants”) in the action entitled Willis v. Zip, Inc. et al., Alameda County Superior
28                  Court, Case No. RG17866531 (“Underlying Action”) under Sentinel Policy No. 83

     3746965v.1                                    1                     Case No. 3:19-cv-06312-VC
                                   [PROPOSED] JUDGMENT GRANTING
                  PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT AGAINST ALL DEFENDANTS
